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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF FLORIDA
                                   GAINESVILLE DIVISION

IN RE:                                           )
                                                 )
Brian Elsmore                                    )      Case # 18-10341
Mercedes Elsmore                                 )      Chapter 7
                                                 )
              Debtors                            )

CONSENT CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE AGREEMENT BETWEEN
      SECURED LENDER AND THE ESTATE AND (III ) OTHER RELIEF (DOC. )
                         (WITH CONSENT OF SECURED LENDER)

       Theresa M. Bender (the “Trustee”), duly appointed Chapter 7 Trustee for the above referenced

debtors (the “Debtors”) pursuant to Sections 105 and 363 of the Bankruptcy Code hereby files this

motion (“Motion”) for entry of an order for authority to sell certain real property free and clear of all

liens, encumbrances, and interests. In support thereof, the Trustee respectfully states as follows:

                                              JURISDICTION

       1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N), and

(O).

       2.     Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

       3.     The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal Rules of

Bankruptcy Procedure 2002 and 6004.

                                             BACKGROUND

       4.     On 12/20/2018 the Debtors commenced this case by filing a voluntary petition for relief

under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

       5.     Theresa M. Bender is the duly appointed and qualified Chapter 7 Trustee.
                                                                                                       1
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        6.       The Trustee held and concluded the 341 meeting of creditors on 02/13/2019.

        7.       The Debtors scheduled a 100% ownership interest in the real property located at 4025

NORTHWEST 35TH STREET GAINESVILLE, FL 32605 (the “Property”) and legally described as

follows:

LOT 25, OF A REPLAT OF LOTS 1-5, 7, 8, 19-36, AND 39-43 OF SABLE CHASE CLUSTER
SUBDIVISION, PHASE I, ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
BOOK P, PAGE 97, OF THE PUBLIC RECORDS OF ALACHUA COUNTY, FLORIDA.

        8.       The Debtors scheduled the Property as having a value of $210,000.00 subject to a

mortgage in favor of Mr. Cooper (the “Secured Creditor(s)”) in the amount owed on the Petition Date

of approximately $179,752.00


        9.       The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

(“BKRES”) and Listing Agent, has determined it to be in the best interest of the Debtors estate and all

creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party Trustee determines to have made the best

                      qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the estate

                      with respect to the Property (including any deficiency claims resulting from the

                      proposed sale); and

                 c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with the

                      proposed sale, including the payment of a 6% real estate brokerage commission to

                      BKRES and Listing Agent and reimbursement of their out-of-pocket expenses, and


1
 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes in order to
consistently measure sales confidence and predict market value.
                                                                                                                                   2
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                   provide a carve out for the benefit of allowed unsecured creditors of the Debtors

                   estate.

       10. The Secured Creditor has represented and warranted that it possesses a valid, perfected,

enforceable and unavoidable first mortgage lien on the Property by virtue of a promissory note and

mortgage recorded in the Official Records Book of Alachua County, Florida, consisting of principal

and Interest (the “Secured Creditor Indebtedness”).

                                           RELIEF REQUESTED

       11.    The Trustee requests the entry of an order pursuant to Section 363 of the Bankruptcy

Code approving the sale of the Property, using the services of BKRES and Listing Agent, free and clear

of all liens, claims, encumbrances, and interests. As a material inducement to the Trustee’s decision to

pursue the proposed sale, the Secured Creditor consents to the Property’s sale and the creation of a

carve-out fund (the “Carve-Out Fund”) that will provide for the costs of this case to be paid and

provide a recovery for other creditors. The Trustee requests that any creditor (other than the Secured

Creditor) asserting an interest or secured claim against the Property be required to assert no later than 5

days prior to the hearing on the instant Motion, and substantiate the basis for such asserted interest or

secured claim, or the Court will authorize the sale of the Property free and clear of any such asserted

interest or security interest, with such claims, at best, being treated as a general unsecured claim.

                                            BASIS FOR RELIEF

              A.      The Sale of the Property Should Be Approved

       12.    The Trustee seeks the Court’s authority to sell the Property free and clear of all liens,

claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without representations or

warranties of any type, express or implied, being given by the Trustee and his professionals, pursuant

to the Sale procedures described below.

                                                                                                         3
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       13.    Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and hearing,

may use, sell, or lease property of the Debtors estate other than in the ordinary course of business. The

Court should approve the sale if the Trustee can demonstrate a sound business justification for the sale

and if the sale process is fair, open, and reasonable. See Official Comm. Of Unsecured Creditors of LTV

Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992);

see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr. S.D. Fla. 2008). Further, Bankruptcy Rule

6004(f) contemplates sales outside of the ordinary course of business.

       14.    The Trustee, through the services of BKRES and Listing Agent, have listed the property

and accepted an offer that has been approved by the Secured Creditor and will result in a carve-out for

the Bankruptcy Estate of $10,125.00. Attached as Exhibits “A” and “B” respectively are the settlement

statement and letter of consent/approval from the Secured Creditor.

       15.    Accordingly, the Trustee submits that the sale of the Property pursuant to the above

process is reasonable under Section 363(b) of the Bankruptcy Code.

       B.     The Sale of the Property Should Be Approved Free and Clear of All Interests

       16.    Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property free

and clear of any interest in such property in an entity other than the estate if (1) permitted under

applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest is a lien

and the purchase price at which the property is to be sold is greater than the aggregate value of all liens

on the property; (4) the interest is the subject of a bona fide dispute; or (5) the party asserting the

interest could be compelled, in a legal or equitable proceeding, to accept a money satisfaction for such

interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3 (2d Cir. 2005) (“Section 363

permits sales of assets free and clear of claims and interests . . . It thus allows purchasers . . . to acquire

assets [from a debtor] without any accompanying liabilities.”); see also In re MMH Auto. Group, LLC,

                                                                                                             4
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385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

           17.      The Trustee states that she shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.

           18.     The Trustee requests that any creditor (other than the Secured Creditor) asserting an

interest or secured claim against the Property, after proper notice is given, be required to timely assert

and substantiate the basis for such asserted interest or secured claim, by filing and serving responsive

papers no later than 5 days prior to the hearing on the instant Motion, or the Court will authorize the

sale of the Property free and clear of any such asserted interest or security interest, with such claims, at

best, being treated as a general unsecured claim.2 Failure to object after proper notice and opportunity

to object is deemed consent. See BAC Home Loans Servicing LP v. Grassi, 2011 WL 6096509 (1st Cir.

BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc. v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re

Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v. Reuters Ltd., 312 F.3d 281 (7th Cir.);

In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr. S.D. Fla., May 21, 2012). A Title

Commitment has been prepared by the closing agent/title company.

           19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the Trustee

or his professionals. Notwithstanding that the Trustee will seek authority to execute all documents and

instruments he deems reasonable, necessary and/or desirable to close the sale, the only documents that

the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed, and (b) a copy of the

Final Sale Order.


2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
                                                                                                                  5
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       20.    The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any HOA

fees accrued post-petition or the equivalent to twelve months’ assessments and (3) all closing costs

excluding professional fees but including State Documentary Stamps for the entire closing price

pursuant to Florida Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any payments

by the Secured Creditor as stated herein shall be subject to any and all limitations on the Secured

Creditor’s liability for any fees and costs under applicable law.

       C.     The Sale Will Be Undertaken by the Buyer in Good Faith

       21.    Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest in

property purchased from a debtor notwithstanding that the sale conducted under section 363(b) was

later reversed or modified on appeal.

       22.    The sale should be found to have been in good faith if the Trustee can demonstrate the

transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West Islip,

LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997) (“Typically,

the misconduct that would destroy a purchaser’s good faith status at a judicial sale involves fraud,

collusion between the purchaser and other bidders or the trustee, or an attempt to take grossly unfair

advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke Associates, Inc., No.

07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a sale was entitled to the

protections of Section 363(m) of the Bankruptcy Code when it was based upon arm’s length bargaining

and without collusion).

       23.    The Trustee asserts that the sale of the Property will utilize a competitive and transparent

marketplace that facilitates an arm’s-length sale without fraud or collusion. Accordingly, the Trustee

respectfully requests that the Court find that the purchaser(s) will be entitled to the protections of

                                                                                                        6
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Section 363(m) of the Bankruptcy Code.

       24.    The Trustee further states that:

              (a)    the Trustee has reviewed the tax implications of the proposed Sale and has

determined that the proposed sale will not result in a capital gains tax event to the estate or other

taxable event which would negate the benefit realized from the Carve Out;

              (b)    the Trustee has determined, based upon a review of the schedules and information

derived from the 341 meeting, that there will likely be a meaningful distribution to creditors based

upon the understanding that the final sale price and the total dollar amount of claims to be filed in this

case are both unknown and can only be estimated at this time; and

              (c)    Given the information available at this time, the Trustee has made an educated

evaluation and determined that the proposed Sale is in the best interest of the estate and its creditors.

       25.    Time is of the essence. The Secured Creditor consent depends upon closing by October

31, 2019. This Motion is filed Expedite for that reason.

       26. The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant to Rule

6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee to close on

the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take all actions

and execute all documents he deems reasonable, necessary and/or desirable to effectuate the requested

relief; (c) retain sole and exclusive personal subject matter jurisdiction to implement, interpret and

enforce the terms of the this Motion and the Final Sale Order; and (d) adjudicate all claims,

controversies and/or disputes arising from or related to the proposed sale.




                                                                                                            7
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                                              CONCLUSION

       WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving the

short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy

Code and for such other and further relief as this Court deems just and equitable under the

circumstances of the case.

RESPECTFULLY SUBMITTED,
                                                  /s/Theresa M. Bender
                                                  Theresa M. Bender, Trustee
                                                  P.O. Box 14557
                                                  Tallahassee, FL 32317
                                                  Phone: (850) 205-7777
                                                  E-mail: tmbenderch7@gmail.com


                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been furnished via first-
class United States Mail, postage prepaid, or via electronic mail this 8 day of October, 2019 to:

By U.S. Mail/ECF

   Brian Elsmore & Mercedes Elsmore, - 4025 NORTHWEST 35TH STREET, GAINESVILLE, FL 32605;

   Mr. Cooper, 8950 Cypress Waters Blvd, Coppell, TX 75019

   Barbara A. Cusumano on behalf of Debtor Brian Malcolm Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Barbara A. Cusumano on behalf of Joint Debtor Mercedes Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Elizabeth Eckhart on behalf of Creditor U.S. Bank National Association, as Trustee for Lehman XS Trust
   Mortgage Pass-Through Certificates, Series 2007-7N
   eeckhart@logs.com, electronicbankruptcynotices@logs.com
   MCCOY ANDERSON, GATOR HOMES, 21727 SE 69TH AVE, HAWTHORNE, FL. 32640

   PATRICK BUTLER, PBUTLER@BKGINC.COM

   United States Trustee, USTPRegion21.TL.ECF@usdoj.gov


                                                  /s/Theresa M. Bender

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 American Land Title Association                                                                       ALTA Settlement Statement - Cash
                                                                                                                    Adopted 05-01-2015


                                                                Bright Line Title, LLC
                                                             ALTA Universal ID: 1101418
                                                             5404 Cypress Center Drive
                                                                      Suite 150
                                                                  Tampa, FL 33609


 File No./Escrow No. :               BFL19-67533
 Print Date & Time:                  October 7, 2019 3:35 pm
 Officer/Escrow Officer :
 Settlement Location :

  Property Address:                  4025 NW 35th Street
                                     Gainesville, FL 32605
  Buyer:                            Shawn Ingram
                                    4025 NW 35th Street
                                    Gainesville, FL 32605
  Seller:                           Theresa M. Bender, as Trustee for the Bankruptcy Estate of Brian and Mercedes Malcolm
                                    Elsmore

  Settlement Date:                  November 01, 2019
  Disbursement Date:                November 01, 2019


                   Seller                                            Description                                        Buyer
         Debit                 Credit                                                                          Debit                Credit
                                                 Financial
                               202,500.00 Sale Price of Property                                               202,500.00
                                          Deposit                                                                                      2,000.00


                                                 Prorations/Adjustments
            3,562.23                             County Taxes                                                                          3,562.23
                                                   01/01/19 - 11/01/19


                                                 Title Charges and Escrow/Settlement Charges
              150.00                             Doc Prep to Bright Line Title, LLC
            1,400.00                             Settlement/Closing Fee to Bright Line Title, LLC                   850.00
              350.00                             Title Search & Exam Fee to Bright Line Title, LLC
              150.00                             Title Search Update (2) to Bright Line Title, LLC
                                                 Owner's Title Insurance to Bright Line Title, LLC                1,087.50
                                                    Coverage: 202,500.00
                                                    Premium: 1,087.50


                                                 Commissions
            8,100.00                             Listing Agent Commission to Gator Homes Realty




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                   Seller                                            Description                                         Buyer
         Debit                 Credit                                                                           Debit                Credit
                                                 Commissions (continued)
           4,050.00                              Selling Agent Commission to Golden Rule Real
                                                 Estate


                                                 Government Recording and Transfer Charges
                                                 Recording Fees to Clerk of Circuit Court                             91.00
           1,417.50                              FL - State Deed Transfer Tax to Clerk of Circuit
                                                 Court


                                                 Payoff(s)
       170,130.27                                Payoff of First Mortgage Loan to Mr. Cooper
                                                   Loan Payoff                               0.00
                                                                   Total Payoff        170,130.27


                                                 Miscellaneous
                                                 Association Fee to Sable Chase Cluster                               90.00
                                                 Subdivision Community Associat
         10,125.00                               BK Estate fee to Theresa M. Bender, as Trustee for
                                                 the Bankruptcy E
             395.00                              Closing Fee to Ocean Title
             100.00                              Court Order pnd approval 11 U.S.C. § 506(c) to BK
                                                 Global
           2,220.00                              HOA Dues/Fees to Sable Chase Cluster
                                                 Subdivision Community Associat
             350.00                              Lien Search Fee to Coast 2 Coast Lien Search &
                                                 Mitigation Service, LL
                                                 November Assessment to Sable Chase Cluster                           90.00
                                                 Subdivision Community Associat

                    Seller                                                                                               Buyer
        Debit                  Credit                                                                           Debit                Credit
       202,500.00              202,500.00                           Subtotals                                   204,708.50              5,562.23
                                                                 Due from Buyer                                                      199,146.27
       202,500.00              202,500.00                             Totals                                    204,708.50           204,708.50




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   Acknowledgement
   We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts
   and disbursements made on my account or by me in this transaction and further certify that I have received a copy of the
   ALTA Settlement Statement. We/I authorize Bright Line Title, LLC to cause the funds to be disbursed in accordance with
   this statement.


   Buyer


   ___________________________________
   Shawn Ingram

   Seller


   Theresa M. Bender, as Trustee for the Bankruptcy Estate of Brian and Mercedes Malcolm Elsmore

   BY:________________________________




   Settlement Agent




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